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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


UMG RECORDINGS, INC., et al.,
                                                     Civil Action No. 19-17272 (MAS) (ZNQ)
                       Plaintiffs,

v.

RCN TELECOM SERVICES, LLC, et al.,               DISCOVERY CONFIDENTIALITY ORDER

                       Defendants.


       It appearing that discovery in the above-captioned action is likely to involve the
disclosure of confidential information, it is ORDERED as follows:

        1.       Any party to this litigation and any third-party shall have the right to designate as
“Confidential” and subject to this Order any information, document, or thing, or portion of any
document or thing: (a) that contains trade secrets, competitively sensitive technical, marketing,
financial, sales or other confidential business information, or (b) that contains private or
confidential personal information, or (c) that contains information received in confidence from
third parties, or (d) which the producing party otherwise believes in good faith to be entitled to
protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure and Local Civil Rule
5.3. Any party to this litigation or any third party covered by this Order, who produces or
discloses any Confidential material, including without limitation any information, document,
thing, interrogatory answer, admission, pleading, or testimony, shall mark the same with the
foregoing or similar legend: “CONFIDENTIAL” or “CONFIDENTIAL – SUBJECT TO
DISCOVERY CONFIDENTIALITY ORDER” (hereinafter “Confidential”).

       2.       Any party to this litigation and any third-party shall have the right to designate as
“Attorneys’ Eyes Only” and subject to this Order any information, document, or thing, or portion
of any document or thing that contains highly sensitive business or personal information, the
disclosure of which is highly likely to cause significant harm to an individual or to the business
or competitive position of the designating party. Any party to this litigation or any third party
who is covered by this Order, who produces or discloses any Attorneys’ Eyes Only material,
including without limitation any information, document, thing, interrogatory answer, admission,
pleading, or testimony, shall mark the same with the foregoing or similar legend:
“ATTORNEYS’ EYES ONLY” or “ATTORNEYS’ EYES ONLY – SUBJECT TO
DISCOVERY CONFIDENTIALITY ORDER” (hereinafter “Attorneys’ Eyes Only”).

        3.     All Confidential material shall be used by the receiving party solely for purposes
of the prosecution or defense of this action, shall not be used by the receiving party for any
business, commercial, competitive, personal or other purpose, and shall not be disclosed by the
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receiving party to anyone other than those set forth in Paragraph 4, unless and until the
restrictions herein are removed either by written agreement of counsel for the parties, or by Order
of the Court. It is, however, understood that counsel for a party may give advice and opinions to
his or her client solely relating to the above-captioned action based on his or her evaluation of
Confidential material, provided that such advice and opinions shall not reveal the content of such
Confidential material except by prior written agreement of counsel for the parties, or by Order of
the Court.

        4.      Confidential material and the contents of Confidential material may be disclosed
only to the following individuals under the following conditions:

           (a)     Outside counsel (herein defined as any attorney at the parties’ outside law
                   firms) and the following in-house counsel for the parties, or the successors to
                   such individuals:

                      Universal Music Group
                      Jeffrey Harleston, General Counsel and Executive Vice President,
                       Business & Legal Affairs
                      Alasdair McMullan, Senior Vice President and Head of Litigation
                      Scott Bauman, Senior Vice President, Litigation Counsel
                      Carla Miller, Senior Vice President, Business & Legal Affairs

                      Sony Music Entertainment
                      Julie Swidler, Executive Vice President, Business Affairs & General
                       Counsel
                      Jeff Walker, Executive Vice President and Head, Business & Legal
                       Affairs, Global Digital Business
                      Wade Leak, Senior Vice President, Deputy General Counsel and Chief
                       Compliance, Ethics & Privacy Officer
                      David Jacoby, Senior Vice President, Business & Legal Affairs

                      Warner Music Group
                      Paul Robinson, Executive Vice President & General Counsel
                      Brad Cohen, Senior Vice President & Head of Litigation
                      Kirsten VanHoose, Counsel, Litigation
                      Thomas Monahan, Associate Counsel, Litigation

                      RCN Defendants and Patriot Media Consulting, LLC
                      Jeffrey Kramp, Executive Vice President, Secretary and General Counsel
                      James Hill, Senior Legal Counsel

           (b)     Recording Industry Association of America in-house attorneys Kenneth
                   Doroshow, Chief Legal Officer, and Jared Freedman, Senior Vice President,
                   Litigation & Legal Affairs, or the successors to such individuals;

           (c)     Outside experts or consultants retained by outside counsel for purposes of this


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                      action, provided they have signed a non-disclosure agreement in the form
                      attached hereto as Exhibit A;

             (d)      Secretarial, paralegal, clerical, duplicating and data processing personnel of
                      the foregoing;

             (e)      The Court and court personnel;

             (f)      Any deponent may be shown or examined on any information, document or
                      thing designated Confidential if it appears that the witness authored or
                      received a copy of it, was involved in the subject matter described therein or is
                      employed by the party who produced the information, document or thing, or if
                      the producing party consents to such disclosure;

             (g)      Vendors retained by or for the parties to assist in preparing for pretrial
                      discovery, trial and/or hearings including, but not limited to, court reporters,
                      litigation support personnel, jury consultants, individuals to prepare
                      demonstrative and audiovisual aids for use in the courtroom or in depositions
                      or mock jury sessions, as well as their staff, stenographic, and clerical
                      employees whose duties and responsibilities require access to such materials;
                      and

             (h)      The parties. In the case of parties that are corporations or other business
                      entities, “party” shall mean executives who are required to participate in
                      decisions with reference to this lawsuit.

        5.      Confidential material shall be used only by individuals permitted access to it
under Paragraph 4. Confidential material, copies thereof, and the information contained therein,
shall not be disclosed in any manner to any other individual, until and unless (a) outside counsel
for the party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders
such disclosure.

         6.     With respect to any depositions that involve a disclosure of Confidential material
of a party to this action, such party shall have until thirty (30) days after receipt of the deposition
transcript within which to inform all other parties that portions of the transcript are to be
designated Confidential, which period may be extended by agreement of the parties. No such
deposition transcript shall be disclosed to any individual other than the individuals described in
Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during these thirty (30) days, and no
individual attending such a deposition shall disclose the contents of the deposition to any
individual other than those described in Paragraph 4(a), (b), (c), (d) and (f) above during said
thirty (30) days. Upon being informed that certain portions of a deposition are to be designated
as Confidential, all parties shall immediately cause each copy of the transcript in its custody or
control to be appropriately marked and limit disclosure of that transcript in accordance with
Paragraphs 3 and 4.

        7.         Material produced and marked as Attorneys’ Eyes Only may be disclosed only to


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the individuals identified in paragraph 4(a) – (g) above, and to such other persons as counsel for the
producing party agrees in advance or as Ordered by the Court.

        8.      If counsel for a party receiving documents or information designated as
Confidential or Attorneys’ Eyes Only hereunder objects to such designation of any or all of such
items, the following procedure shall apply:

             (a)      Counsel for the objecting party shall serve on the designating party or third
                      party a written objection to such designation, which shall describe with
                      particularity the documents or information in question and shall state the
                      grounds for objection. Counsel for the designating party or third party shall
                      respond in writing to such objection within 14 days, and shall state with
                      particularity the grounds for asserting that the document or information is
                      Confidential or Attorneys’ Eyes Only. If no timely written response is made to
                      the objection, the challenged designation will be deemed to be void. If the
                      designating party or nonparty makes a timely response to such objection
                      asserting the propriety of the designation, counsel shall then confer in good
                      faith in an effort to resolve the dispute.

             (b)      If a dispute as to a Confidential or Attorneys’ Eyes Only designation of a
                      document or item of information cannot be resolved by agreement, the
                      proponent of the designation being challenged shall present the dispute to the
                      Court initially by telephone or letter, in accordance with Local Civil Rule
                      37.1(a)(1), before filing a formal motion for an order regarding the challenged
                      designation. The document or information that is the subject of the filing shall
                      be treated as originally designated pending resolution of the dispute.

       9.          All requests to seal documents filed with the Court shall comply with Local Civil
Rule 5.3.

        10.    If the need arises during trial or at any Hearing before the Court for any party to
disclose Confidential or Attorneys’ Eyes Only information, it may do so only after giving notice
to the producing party and as directed by the Court.

        11.     To the extent consistent with applicable law, the inadvertent or unintentional
disclosure of Confidential material that should have been designated as such, regardless of
whether the information, document or thing was so designated at the time of disclosure, shall not
be deemed a waiver in whole or in part of a party’s claim of confidentiality, either as to the
specific information, document or thing disclosed or as to any other material or information
concerning the same or related subject matter. Such inadvertent or unintentional disclosure may
be rectified by notifying in writing counsel for all parties to whom the material was disclosed that
the material should have been designated Confidential within a reasonable time after disclosure.
Such notice shall constitute a designation of the information, document or thing as Confidential
under this Discovery Confidentiality Order.

       12.         When the inadvertent or mistaken disclosure of any information, document or


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thing protected by privilege or work-product immunity is discovered by the producing party and
brought to the attention of the receiving party, the receiving party’s treatment of such material
shall be in accordance with Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or
mistaken disclosure of such information, document or thing shall not by itself constitute a waiver
by the producing party of any claims of privilege or work-product immunity. However, nothing
herein restricts the right of the receiving party to challenge the producing party’s claim of
privilege if appropriate within a reasonable time after receiving notice of the inadvertent or
mistaken disclosure.

        13.     No information that is in the public domain or which is already known by the
receiving party through proper means or which is or becomes available to a party from a source
other than the party asserting confidentiality, rightfully in possession of such information on a
non-confidential basis, shall be deemed or considered to be Confidential material under this
Discovery Confidentiality Order.

        14.    This Discovery Confidentiality Order shall not deprive any party of its right to
object to discovery by any other party or on any otherwise permitted ground. This Discovery
Confidentiality Order is being entered without prejudice to the right of any party to move the
Court for modification or for relief from any of its terms.

        15.     This Discovery Confidentiality Order shall survive the termination of this action
and shall remain in full force and effect unless modified by an Order of this Court or by the
written stipulation of the parties filed with the Court.

         16.    Upon final conclusion of this litigation, each party or other individual subject to
the terms hereof shall be under an obligation to assemble and to return to the originating source
all originals and unmarked copies of documents and things containing Confidential material and
to destroy, should such source so request, all copies of Confidential material that contain and/or
constitute attorney work product as well as excerpts, summaries and digests revealing
Confidential material; provided, however, that counsel may retain complete copies of all
transcripts and pleadings including any exhibits attached thereto for archival purposes, subject to
the provisions of this Discovery Confidentiality Order. To the extent a party requests the return
of Confidential material from the Court after the final conclusion of the litigation, including the
exhaustion of all appeals therefrom and all related proceedings, the party shall file a motion
seeking such relief.


                              7th day of _______________,
       IT IS SO ORDERED this _____          August        2020.



                                                 s/ Zahid N. Quraishi
                                              _______________________________________
                                              HON. ZAHID N. QURAISHI
                                              United States Magistrate Judge




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                                                 EXHIBIT A

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


UMG RECORDINGS, INC., et al.,
                                                        Civil Action No. 19-17272 (MAS) (ZNQ)
                                 Plaintiffs,

v.

RCN TELECOM SERVICES, LLC, et al.,                      AGREEMENT TO BE BOUND BY
                                                    DISCOVERY CONFIDENTIALITY ORDER
                                 Defendants.


          I, ______________________________, being duly sworn, state that:

          1.     My address is ____________________________________.

       2.    My present employer is ______________________________ and the address of
my present employment is _______________________________.

          3.     My present occupation or job description is ____________________________.

       4.      I have carefully read and understood the provisions of the Discovery
Confidentiality Order in this case signed by the Court, and I will comply with all provisions of
the Discovery Confidentiality Order.

        5.     I will hold in confidence and not disclose to anyone not qualified under the
Discovery Confidentiality Order any Confidential Material or any words, summaries, abstracts, or
indices of Confidential Information disclosed to me.

          6.     I will limit use of Confidential Material disclosed to me solely for purpose of this
Action.

       7.      No later than the final conclusion of the case, I will return all Confidential
Material and summaries, abstracts, and indices thereof which come into my possession, and
documents or things which I have prepared relating thereto, to counsel for the party for whom I
was employed or retained.

          I declare under penalty of perjury that the foregoing is true and correct.


Dated: __________________                       _______________________________________
                                                [Name]
